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                                              ORDERED.
      Dated: August 09, 2022




                            UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF FLORIDA JACKSONVILLE DIVISION
In re:                                                    CASE NO: 3:20-bk-02675-JAB
KATHY MARIE MARTIN
                                                          Chapter 13
          Debtor
___________________________________/


                     ORDER DENYING TRUSTEE’S MOTION TO DISMISS
                  FOR FAILURE TO MAKE CONFIRMED PLAN PAYMENTS AND
                      DIRECTING DEBTOR TO MAKE PAYMENTS (DE 45)

        This matter came on for consideration for the entry of an Order on the Trustee’s Motion to

Dismiss for Failure to Make Confirmed Plan Payments. The Court having reviewed the motion and

based on the facts set forth therein, it is

        ORDERED AND ADJUDGED as follows:

        1. The Court will reserve ruling on the Trustee’s Motion to Dismiss.

        2. The Debtor shall make the September 9, 2022 payment of $488.71 and shall continue to

make all monthly plan payments as they become due.

        3.   The Debtor shall cure all delinquencies and bring all payments current under the

Confirmed Plan by paying to the Chapter 13 Trustee the monthly payments that come due and the

delinquency of $1,041.49 within 60 days of the date of this Order.
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       4. Failure to comply with the foregoing will result in dismissal of the case without further notice

or hearing, upon filing an affidavit of default by the Trustee. If the Debtor bring all payments current

pursuant to paragraphs 2 and 3 above, the Trustee’s ability to dismiss the case without notice or hearing

will no longer apply.



Copies furnished to:
Kathy Marie Martin, 22023 57 Point, Obrien, FL 32071
Christopher Hixson Esquire, Consumer Law Attorneys, 2727 Ulmerton Rd Ste 270 Clearwater, FL 33762

Trustee, Douglas W. Neway is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of the order.
